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                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION


     In re:                                                                Chapter 11

     23ANDME HOLDING CO., et al., 1                                        Case No. 25-40976-357

                               Debtors.                                    (Jointly Administered)


                                   DECLARATION AND DISCLOSURE
                                   STATEMENT OF MARK STEINER
                                  ON BEHALF OF DUANE MORRIS LLP

              I, Mark Steiner, declare that the following is true to the best of my knowledge, information,

 and belief (in particular, all statements regarding other Duane Morris LLP client representations

 are based upon representations made to me by Duane Morris LLP's Senior Conflicts and Business

 Intake Compliance Counsel):

              1.     I am a partner of Duane Morris LLP, located at One Market Plaza, Spear Tower,

 Suite 2200, San Francisco, California 94105 (the “Firm”).

              2.     23andMe Holding Co. and its debtor subsidiaries, as debtors and debtors in

 possession (collectively, the “Debtors”), have requested that the Firm provide intellectual property

 legal services in the nature of trademark and copyright matters to the Debtors, and the Firm has

 consented to provide such services (the “Services”).

              3.     The Firm represents Chubb in connection with the Debtors’ chapter 11 cases and

 has obtained waivers of any potential or actual conflicts of interest from both the Debtors and

 Chubb.
 1      The Debtors in each of these cases, along with the last four digits of each Debtor’s federal tax identification
       number, are: 23andMe Holding Co. (0344), 23andMe, Inc. (7371), 23andMe Pharmacy Holdings, Inc. (4690),
       Lemonaid Community Pharmacy, Inc. (7330), Lemonaid Health, Inc. (6739), Lemonaid Pharmacy Holdings Inc.
       (6500), LPharm CS LLC (1125), LPharm INS LLC (9800), LPharm RX LLC (7746), LPRXOne LLC (3447),
       LPRXThree LLC (3852), and LPRXTwo LLC (1595). The Debtors’ service address for purposes of these chapter
       11 cases is: 870 Market Street, Room 415, San Francisco, CA 94102.
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         4.       The Firm may have performed services in the past and may perform services in the

 future, in matters unrelated to these chapter 11 cases, for persons that are parties in interest in the

 Debtors’ chapter 11 cases. As part of its customary practice, the Firm is retained in cases,

 proceedings, and transactions involving many different parties, some of whom may represent or

 be claimants or employees of the Debtors, or other parties-in-interest in these chapter 11 cases.

 Other than as described in number 3 above, the Firm does not perform services for any such person

 in connection with these chapter 11 cases and will use best efforts to avoid any duplication of

 services provided by any of the Debtors’ other Ordinary Course Professionals 2. In addition, the

 Firm does not have any relationship with any such person, their attorneys, or accountants that

 would be adverse to the Debtors or their estates with respect to the matters on which the Firm is to

 be retained.

         5.       The Firm ran conflicts searches on the parties listed on the Potential Parties in

 Interest provided by Debtors’ Counsel, which is attached hereto as Exhibit A. We have also

 attached hereto as Exhibit B a list of parties on the Potential Parties in Interest list that the Firm

 represents in matters unrelated to the Debtors’ chapter 11 cases (other than Chubb, which we

 represent in the Debtors’ chapter 11 cases as disclosed in number 3 above).

         6.       Neither I, nor any principal of, or professional employed by the Firm has agreed to

 share or will share any portion of the compensation to be received from the Debtors with any other

 person other than the principals and regular employees of the Firm.

         7.       Neither I, nor any principal of, or professional employed by the Firm, insofar as I

 have been able to ascertain, holds or represents any interest adverse to the Debtors or their estates,


 2   Capitalized terms used herein but not defined shall have the meaning ascribed to them in the Debtors’ Motion for
     Entry of an Order (I) Authorizing the Retention and Compensation of Certain Professionals Utilized in the
     Ordinary Course of Business and (II) Granting Related Relief.
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                                                    EXHIBIT A

                                  POTENTIAL PARTIES IN INTEREST1

   1. (FINANCIAL ADVISOR TO) POTENTIAL BUYER
         • JPMORGAN SECURITIES LLC
         • TD COWEN
   2. (LEGAL COUNSEL TO) POTENTIAL BUYER
         • ROPES & GRAY LLC
         • SKADDEN, ARPS, SLATE, MEAEGHER & FLOM LLP
   3. BANKRUPTCY JUDGES/STAFF
         • CATHERINE NORWOOD
         • CHICQUITA GREENE-HESTER
         • CHIEF JUDGE BONNIE L. CLAIR
         • COURTNEY KIRBIS
         • HAYLEY KOONTZ
         • JUDGE BRIAN C. WALSH
         • JUDGE KATHY A. SURRATT-STATES
         • KAILA SPIVEY
         • TAYLOR ROWLAND
   4. BANKRUPTCY PROFESSIONALS - RETAINED
         • ALVAREZ AND MARSAL NORTH AMERICA, LLC
         • CARMODY MACDONALD P.C.
         • DELOITTE TAX LLP
         • GOODWIN PROCTER LLP
         • KROLL RESTRUCTURING ADMINISTRATION LLC
         • LEWIS RICE LLC
         • MOELIS & COMPANY LLC
         • PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
   5. BANKS/LENDER/UCC LIEN PARTIES/ADMINISTRATIVE AGENTS
         • CARDINAL HEALTH 110 LLC, “AS AGENT”
         • JPMORGAN CHASE BANK N.A.
         • JPMORGAN CHASE BANK N.A. - TORONTO BRANCH
         • SMITH DRUG COMPANY-DIVISION OF JM SMITH CORP.
         • U.S. BANK EQUIPMENT FINANCE
         • U.S. BANK NATIONAL ASSOCIATION
   6. COUNSEL REPRESENTING CYBER SECURITY INCIDENT CLAIMANTS
         • ARON LAW FIRM
         • AYLSTOCK, WITKIN, KREIS, & OVERHOLTZ PLLC
         • BARNOW & ASSOCIATES P.C.
         • BERMAN TOBACCO

    1
        This list (and the categories contained herein) are for purposes of a conflicts check only and should not
        be relied upon by any party as a list of creditors or for any other purpose. As listing a party once allows
        our conflicts specialists to run a check on such party, we have attempted to remove duplicate entries
        where possible. Accordingly, a party that otherwise may fall under multiple categories is likely to be
        listed under only one category.


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         •   BONI, ZACK & SNYDER LLC
         •   BOTTINI & BOTTINI, INC.
         •   BRADLEY/GROMBACHER LLP
         •   CLARKSON LAW FIRM
         •   CLAYEO C. ARNOLD, PROFESSIONAL LAW CORP.
         •   COLE & VAN NOTE
         •   COTCHETT PITRE & MCCARTHY LLP
         •   CUNEO GILBERT & LADUCA
         •   DU VERNET STEWART
         •   EDELSBERG LAW, P.A.
         •   EMPLOYEE JUSTICE LEGAL GROUP, PC
         •   FALLS LAW GROUP
         •   FEDERMAN & SHERWOOD
         •   FREED KANNER LONDON & MILLEN LLC
         •   GLANCY PRONGAY & MURRAY LLP
         •   GUSTAFSON GLUEK PLLC
         •   HERMAN JONES LLP
         •   KANTROWITZ, GOLDHAMER & GRAIFMAN, P.C.
         •   KAPLAN FOX & KILSHEIMER LLP
         •   KAZEROUNI LAW GROUP
         •   KLEINE PC
         •   KOPELITZ OSTROW FERGUSON WEISELBERG GILBERT
         •   KP LAW LTD. (UK)
         •   LABATON KELLER
         •   LAUKAITIS LAW LLC
         •   LAW OFFICE OF COURTNEY WEINER PLLC
         •   LAW OFFICES OF PAUL WHALEN, PC
         •   LEVI & KORSINSKY
         •   LEVIN SEDRAN & BERMAN LLP
         •   LEXINGTON LAW GROUP, LLP
         •   LIEFF CABRASER HEIMANN & BERNSTEIN AND ROBBINS GELLER
         •   LOCKRIDGE GRINDAL NAUEN P.L.L.P.
         •   LOFTUS & EISENBERG, LTD.
         •   LONGMAN LAW, P.C.
         •   LYNCH CARPENTER LLP
         •   MASON LLP
         •   MCSHANE & BRADY, LLC
         •   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN
         •   MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN LLC
         •   NEAL & HARWELL
         •   PIERCE GORE LAW FIRM
         •   POTTER HANDY LLP
         •   POULIN | WILLEY | ANASTOPOULO, LLC
         •   REESE LLP

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         • ROBBINS GELLER RUDMAN & DOWD, LLP
         • SALTZ, MONGELUZZI & BENDESKY, PC
         • SCHUBERT JONCKHEER & KOLBE LLP
         • SCOTT+SCOTT ATTORNEYS AT LAW LLP
         • SROURIAN LAW FIRM, P.C.
         • THE GRANT LAW FIRM, PLLC
         • THE MEHDI FIRM LLP
         • TOSTRUD LAW GROUP PC
         • TYCKO & ZAVAREEI
         • TYCKO & ZAVAREEI, LLP
         • WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
         • WUCETICH & KOROVILAS LLP
         • YANNI LAW
         • ZINNS LAW, LLC
   7. CUSTOMERS
         • ABBVIE INC.
         • AMAZON
         • AMAZON : AMAZON CA
         • AMAZON : AMAZON UK
         • AMAZON : WOOT
         • CARDINAL HEALTH, INC.
         • COREWEAVE, INC.
         • GLAXOSMITHKLINE & GLAXOSMITHKLINE LLC
         • GSK
         • MICHAEL J FOX FOUNDATION : MJFF PD
         • MYHERITAGE
         • SANOFI US SERVICES INC.
         • WALMART.COM
   8. DEBTORS
         • 23 AND ME
         • 23ANDME HOLDING CO.
         • 23ANDME INC.
         • 23ANDME PHARMACY HOLDINGS, INC.
         • LEMONAID COMMUNITY PHARMACY
         • LEMONAID HEALTH INC.
         • LEMONAID PHARMACY HOLDINGS, INC.
         • LPHARM CS LLC
         • LPHARM INS LLC
         • LPHARM RX LLC
         • LPRXONE, LLC
         • LPRXTHREE LLC
         • LPRXTWO, LLC
   9. DIRECTOR/OFFICER
         • ANDRE FERNANDEZ

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          • AVI FACTOR
          • ELAND SIDDLE
          • GUY CHAYOUN
          • JIM FRANKOLA
          • JOE SELSAVAGE
          • MARK JENSEN
          • THOMAS WALPER
   10. INSURANCE
          • AIG FINANCIAL LINES CLAIMS
          • ALLIED WORLD SPECIALTY INSURANCE COMPANY
          • ARCH SPECIALTY INSURANCE COMPANY
          • AXIS INSURANCE
          • BEAZLEY USA SERVICES, INC
          • BERKLEY LIFE SCIENCES
          • BERKLEY PROFESSIONAL LIABILTY
          • CHUBB GROUP
          • CHUBB GROUP OF INSURANCE CO
          • CNA CLAIMS REPORTING
          • COMMERCIAL MANAGEMENT LIABILITY
          • GREAT AMERICAN INSURANCE COMPANY
          • HCC GLOBAL FINANCIAL PRODUCTS, LLC.
          • HISCOX USA
          • HUDSON INSURANCE COMPANY
          • LLOYD’S AMERICA, INC.
          • OLD REPUBLIC PROFESSIONAL LIABILITY, INC.
          • RESILIENCE CYBER INSURANCE SOLUTIONS
          • THE HARTFORD FINANCIAL LINES
          • THE TRAVELERS COMPANIES, INC.
          • TRIUM CYBER US SERVICES, INC.
          • WOODRUFF SAWYER
          • XL PROFESSIONAL INSURANCE
   11. KNOWN AFFILIATES - JV
          • LMND CA
          • LMND KS
          • LMND NJ
          • LMND TX
   12. LANDLORDS/ SUBTENANTS
          • KR OP TECH, LLC
          • OYSTER POINT TECH CENTER LLC, A DELEWARE LIMITED LIABILITY
             COMPANY
   13. LETTER OF CREDIT- BENEFICIARY
          • 221 N MATHILDA, LLC, A DELEWARE LIMITED LIABILITY COMPANY
          • PAYPAL, INC.
   14. LITIGATION

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         •   ADRIANE FARMER
         •   ALEX VELARDE
         •   ALEXANDRA HOFFMAN
         •   ALMEIDA LAW GROUP LLC
         •   ALYSON HU
         •   ANDEZ JONES
         •   ANTOINETTE POWELL
         •   BONNIE EDEN
         •   BRANDON MOLINA
         •   BRIANA DUBE
         •   BRIANNA SORENSEN
         •   CAMIE PICHA
         •   CAROLINE GREENBERG
         •   CAROLYN ROCK
         •   CASEY GERRY SCHENK FRANCAVILLA BLATT & PENFIELD, LLP
         •   CHRISTINA SHAW
         •   CHRISTOPHER DU VERNET CARLIN MCGOOGAN DUVERNET
             STEWART, BARRISTERS AND SOLICITERS
         •   CLAIRE PADDY
         •   DAVID MELVIN
         •   DAVID TULCHINSKY
         •   DHAMAN GILL
         •   EDELSON PC
         •   ELAINE FRALIX
         •   ERIK STANFORD
         •   FALLS LAW GROUP
         •   HARIS MIRZA
         •   HAROLD GARRETT
         •   HAROLD VELEZ
         •   JOHN DIAZ
         •   JULIE MACMILLAN
         •   KATHY VASQUEZ
         •   KATIANNE NAVARRO
         •   KELLER ROHRBACK L.L.P.
         •   KERRY LAMONS
         •   KND COMPLEX LITIGATION
         •   KP LAW LIMITED
         •   KRISTEN RIVERS
         •   LABATON KELLER SUCHAROW LLP
         •   LAQUISHA SMITH
         •   LEENA YOUSEFI YLAW GROUP
         •   LEVI + KORSINSKY LLP
         •   LUIS VALLADARES
         •   MARJORIE MORGENSTERN

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          • MATTHEW A. SMITH
          • MATTHEW MARDEN
          • MAX ALPERSTEIN
          • MCGUIRE LAW, P.C.
          • MELANIE BERMAN
          • MELISSA RYAN
          • MICHAEL SCHUTZ
          • MICHELE BACUS
          • MICHELLE ANDRIZZI
          • MICHELLE IGOE
          • MIGLIACCIO & RATHOD LLP
          • MILBERG COLEMAN BRYSON PHILLIPS GROSSMAN PLC
          • MONICA SANTANA
          • NEIL BENEDICT
          • NICHOLAS FURIA
          • NICHOLE FRIEND
          • PATRICK CAPSTICK
          • POLINA IOFFE
          • POTTER HANDY, LLP
          • RICHARD ROE
          • RUDY K. THOMPSON
          • SARAH CANTU
          • STEPHEN L. SEIKEL
          • STEVE SIEGEL HANSON LLP
          • THOMAS VICKERY
          • TRACY SCOTT
          • TRISHA WILKUS
          • TYRELL BROWN
   15. POTENTIAL BUYER
          • NEW MOUNTAIN CAPITAL, LLC
   16. REGULATORS
          • AGENCIA ESPAÑOLA DE PROTECCIÓN DE DATOS
          • BUREAU OF CONSUMER PROTECTION
          • FEDERAL TRADE COMMISSION
          • OFFICE OF ATTORNEY GENERAL TODD ROKITA
          • OFFICE OF THE ATTORNEY GENERAL - CONNECTICUT
          • OFFICE OF THE PRIVACY COMMISSIONER OF CANADA
          • UNITED KINGDOM INFORMATION COMMISSIONER’S OFFICE
   17. SIGNIFICANT EQUITY HOLDERS
          • ABEEC 2.0, LLC
          • ANNE WOJCICKI
          • ZENTREE INVESTMENTS LIMITED
   18. U.S. TRUSTEE OFFICE
          • PAUL RANDOLPH

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   19. VENDORS (TOP 85% OF ACCOUNTS PAYABLE)
         • ACCO ENGINEERED SYSTEMS
         • AGANITHA AI INC.
         • ALIXPARTNERS, LLC
         • ALLIED UNIVERSAL SECURITY SERVICES
         • ALOM TECHNOLOGIES CORPORATION
         • AMAZON WEB SERVICES
         • ANDRE JOHN FERNANDEZ
         • BDO USA LLP
         • BLUE SHIELD OF CALIFORNIA
         • BRAINTREE
         • CATALENT CTS SINGAPORE PRIVATE LIMITED
         • CDW DIRECT LLC
         • CLOUDFLARE, INC.
         • COALITION FOR GENETIC DATA PROTECTION INC.
         • CONSULTING, JW LLC
         • CONVERGE TECHNOLOGY SOLUTIONS US, LLC
         • DECHERT LLP
         • DELOITTE & TOUCHE LLP
         • DELOITTE CONSULTING LLP
         • DELTA DENTAL OF CALIFORNIA
         • DNA GENOTEK INC.
         • EGON ZEHNDER INTERNATIONAL, INC
         • FEDEX CORP
         • FOLK DEVILS LLC
         • FOODA, INC.
         • FULGENT THERAPEUTICS, LLC
         • GLAXOSMITHKLINE INTELLECTUAL PROPERTY LTD.
         • GOODWIN PROCTER LLP
         • GOOGLE, INC. - ADWORDS
         • GREENBERG TRAURIG LLP
         • HEALTHLINE MEDIA INC
         • IHEARTMEDIA + ENTERTAINMENT
         • ILLUMINA, INC.
         • INTEGRAL RX
         • JELLYFISH US LIMITED
         • KAISER FOUNDATION HEALTH PLAN NORTHERN CA
         • KATIE COURIC MEDIA, LLC
         • KILROY REALTY, LP
         • KPMG LLP
         • L.E.K. CONSULTING LLC
         • LIFEBIT BIOTECH LIMITED
         • MARK E. JENSEN
         • MEDPACE INC.

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         •   META PLATFORMS, INC.
         •   METROPOLITAN LIFE INSURANCE COMPANY
         •   MOELIS & COMPANY, LLC
         •   MORGAN, LEWIS & BOCKIUS LLP
         •   MOVIANTO
         •   NATIONAL GENETICS INSTITUTE
         •   PACIFIC GAS AND ELECTRIC COMPANY
         •   PARTNERIZE
         •   PETER M LEFKOWITZ
         •   POWER DIGITAL MARKETING, INC.
         •   PRECISION FOR MEDICINE, INC.
         •   PRITI PATEL CONSULTING LLC
         •   RAIN THE GROWTH AGENCY
         •   RIGHT SIDE UP LLC
         •   SALESFORCE.COM
         •   SANTA CLARA COUNTY TAX COLLECTOR
         •   SCALE STRATEGY OPERATIONS LLC
         •   SCG GROVE 221, LLC
         •   STEADYMD, INC.
         •   SUREFOX NORTH AMERICAN
         •   TANGO CARD, INC.
         •   TATARI, INC.
         •   TCWGLOBAL (WMBE PAYROLLING INC.)
         •   TELUS INTERNATIONAL SERVICES LIMITED
         •   UNUM LIFE INSURANCE COMPANY OF AMERICA
         •   VENTANA MEDICAL SYSTEMS, INC.
         •   WILSON SONSINI GOODRICH & ROSATI, PROFESSIONAL
             CORPORATION
         •   WOODRUFF-SAWYER & CO.
         •   WOOT SERVICES LLC
         •   WORLD ARCHIVES
         •   WUXI BIOLOGICS (HONG KONG) LIMITED
         •   ZENDESK, INC




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                                             EXHIBIT B



 Financial Advisors
 JPMorgan Securities LLC
 TD Cowen

 Bankruptcy Professionals
 Deloitte Tax LLP
 Goodwin Procter LLP
 Kroll Restructuring Administration LLC
 Moelis & Company LLC

 Banks/Lender/UCC Lien Parties/Administrative Agents
 JPMorgan Chase Bank N.A. – Toronto Branch
 JPMorgan Chase Bank N.A.
 U.S. Bank Equipment Finance
 U.S. Bank National Association

 Counsel Representing Cyber Security Incident Claimants
 Cotchett, Pitre & McCarthy LLP
 Robins Geller Rudman & Dowd, LLP

 Customers
 Walmart.com

 Insurance
 AIG Financial Line Claims
 Allied World Specialty Insurance Company
 Arch Specialty Insurance Company
 Axis Insurance
 Berkley Life Sciences
 Berkley Professional Liability
 Chubb Group (Duane Morris represents Chubb in the 23andMe bankruptcy)
 Chubb Group of Insurance Co. (Duane Morris represents Chubb in the 23andMe bankruptcy)
 CNA Claims Reporting
 Great American Insurance Company
 Hudson Insurance Company
 Lloyd’s America, Inc.
 Resilience Cyber Insurance Solutions
 XL Professional Insurance
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 Litigation
 Ryan, Melissa (unclear whether this is the same individual as the individual that Duane Morris
 represents)
 Smith, Matthew A. (unclear whether this is the same individual as the individual that Duane Morris
 represents)


 Vendors (Top 85% of Accounts Payable)
 BDO USA LLP
 Catalent CTS (Singapore) Private Limited
 Deloitte & Touche LLP
 Deloitte Consulting LLP
 Fulgent Therapeutics, LLC
 Goodwin Procter LLP
 Google, Inc.- Adwords
 Integral RX
 KPMG LLP
 Meta Platforms, Inc.
 Moelis & Company LLC
 Wilson Sonsini Goodrich & Rosati
 Zendesk, Inc.

 Signiﬁcant Equity Holders
 Wojcicki, Anne (Duane Morris represents an aﬃliated entity unrelated to 23andMe)
